          Case 8:16-cv-00579-SCB-TBM
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                                               AM


              IN THE CIRCUIT COURT OF THE
                 SIXTH JUDICIAL CIRCUIT
                    IN AND FOR PASCO
                    COUNTY, FLORIDA

         CASE NO.: 16-CA-000029-WS

         THOMAS J. BROWN,

                 Plaintiff(s),

         v.

         CITIBANK, N.A., and
         ARS NATIONAL SERVICES,
         INC.,

               Defendant(s).
         ______________________________/

                                 PLAINTIFF’S FIRST AMENDED COMPLAINT

                 COMES NOW, Plaintiff, THOMAS J. BROWN (hereafter “Mr. Brown” or

         “Plaintiff”), by and through the undersigned counsel, and hereby files his First Amended

         Complaint against Defendant, CITIBANK, N.A. (hereafter “Debt Owner”), and Defendant,

         ARS NATIONAL SERVICES, INC. (hereafter “Debt Collector”), (hereafter collectively

         referred to as “Defendants”), for the unfair and unlawful debt collection practices in the State of

         Florida, and in support thereof states as follows:

                                                Jurisdictional Allegations

              1. This is an action for damages greater than $15,000.00, exclusive of attorney’s fees,

                 interest, and costs.

              2. Jurisdiction in proper in the state of Florida where the Defendants conduct business in the

                 State of Florida.




                                        Brown v .Citibank, N.A. and ARS National Services, Inc.
                                                 Plaintiff’s First Amended Complaint
                                                              Page 1 of 13
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 2 of 61 PageID 6



  3. Jurisdiction of this Court also arises under 15 U.S.C. § 1692k (d) and Fla. Stat. § 559.77

     (1).

  4. Venue is proper in Pasco County, Florida where the tortious activities took place in Pasco

     County, Florida.

                                                    Parties

  5. This action arises out of a “Debt” or “Consumer Debt” as defined by Fla. Stat. § 559.55

     (6) and Defendants’ violations of the Fair Debt Collection Practices Act, 15 U.S.C. §

     1692 et. seq. (“FDCPA”), and the Florida Consumer Collections Practices Act, Fla. Stat.

     § 559.72 et. seq. (“FCCPA”).

  6. Plaintiff, Mr. Brown, is a natural person and at all times material hereto was an adult, a

     resident of Pasco County, Florida, and a “consumer” as defined by 15 U.S.C. § 1692a (3)

     and “debtor” as defined by Fla. Stat. § 559.55 (8).

  7. At all times material hereto, Defendant Debt Owner is a foreign profit corporation with

     its principal place of business in New York, New York and its registered agent as C T

     CORPORATION SYSTEM, located at 1200 South Pine Island Rd., Plantation, FL

     33324.

  8. At all times material hereto, Defendant Debt Collector is a foreign profit corporation with

     its principal place of business in Escondido, California and its registered agent as

     CORPORATION SERVICE COMPANY, located at 1201 Hays St., Tallahassee, FL

     32301.

  9. Further, at all times material hereto, Debt Collector is a “Consumer Collection Agency”

     as defined by Fla. Stat. § 559.55 (3) and/or a “Debt Collector” as defined by Fla. Stat. §

     559.55 (7) & 15 U.S.C § 1692a (6).


                            Brown v .Citibank, N.A. and ARS National Services, Inc.
                                     Plaintiff’s First Amended Complaint
                                                  Page 2 of 13
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 3 of 61 PageID 7



  10. At all times material hereto, Defendant Debt Collector was performing debt collection

     owed to Debt Owner to satisfy Plaintiff’s alleged debt.

  11. At all times material hereto, Debt Collector was acting as an employee, representative, or

     agent on behalf of Debt Owner for purposes of collecting Plaintiff’s alleged debt for Debt

     Owner and, as such, Debt Owner is responsible for the conduct of its agent.

  12. At all times material hereto, via a contractual relationship between the parties, Debt

     Owner had control or the ability to control Debt Collector’s actions in attempting to

     collect Plaintiff’s alleged debt on behalf of Debt Owner.

                                         Statements of Fact

  13. On or around January 25, 2013, Mr. Brown was approved for a Citi Simplicity account

     ending in 6181 (hereafter “the Account”) with Debt Owner.

  14. Mr. Brown opened the Account with the intent his niece would be the primary user

     (hereafter “Primary User”), so as to refinance and pay down her debt.

  15. Primary User had agreed with Mr. Brown that she would make the payments on the

     Account.

  16. However, Mr. Brown desired to limit his credit exposure with respect to the Account and

     Debt Owner offered to limit the credit line to $5,900.00, to which Mr. Brown agreed. See

     Exhibit A.

  17. In February, 2014, Primary User wrote out eight checks as payments towards the

     Account.

  18. Debt Owner immediately credited the payments to the Account, at which point Primary

     User would max out the Account again, and then the checks would return as insufficient

     funds.


                            Brown v .Citibank, N.A. and ARS National Services, Inc.
                                     Plaintiff’s First Amended Complaint
                                                  Page 3 of 13
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 4 of 61 PageID 8



  19. Despite the insufficient funds, all eight of the fraudulent payments were accepted by the

     Debt Owner and applied as credit to the Account over the span of nine days.

  20. The Account balance rose to $14,183.43. See Exhibit B p. 4.

  21. Debt Owner failed to inform Mr. Brown of this pattern of activity while it occurred.

  22. Debt Owner failed to take any action to prevent the overdraw on the account, such as an

     account freeze or a delay in crediting the account.

  23. Mr. Brown hired an attorney to represent him in negotiations regarding the Account.

  24. On or around October 17, 2014, Mr. Brown’s attorney sent a representation letter to Debt

     Owner stating in relevant part, “Please direct all correspondence concerning this matter to

     me. Please do not contact Mr. Brown directly.” See Exhibit E.

  25. Despite this request, Debt Owner directly contacted Mr. Brown on October 27, 2014. See

     Exhibit F.

  26. In the October 27 letter, Debt Owner acknowledges receiving the letter from Mr.

     Brown’s counsel, stating “[w]e have received communication and we appreciate your

     attention to this matter…” Id.

  27. Further, Debt Owner also directly contacted Mr. Brown on November 18, 2014.

  28. On November 19, 2014, Mr. Brown’s attorney sent another letter to Debt Owner

     requesting they immediately cease and desist contact with Mr. Brown. See Exhibit G.

  29. Despite this request, Debt Owner made calls to Mr. Brown’s cellular phone.

  30. Debt Owner placed over three hundred and fifty (350) calls to Mr. Brown’s cellular

     phone, beginning on or around November 30, 2014, through on or around March 26,

     2015. See Exhibit H.




                            Brown v .Citibank, N.A. and ARS National Services, Inc.
                                     Plaintiff’s First Amended Complaint
                                                  Page 4 of 13
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 5 of 61 PageID 9



  31. Some of Debt Owner’s calls to Mr. Brown’s cellular phone were as early as 7:22 a.m.

     See Exhibit H p. 13.

  32. In making these three hundred and fifty (350) calls to Mr. Brown, Debt Owner called Mr.

     Brown’s cellular phone up to six times per day. See Exhibit H pps. 5, 6.

  33. Mr. Brown has been harassed by Debt Owner’s calls due to the frequency and timing of

     each of the calls.

  34. Under information and belief, each of the three hundred and fifty (350) calls identified in

     paragraph 30 were placed to Mr. Brown’s cellular telephone number using an automatic

     telephone dialing system.

  35. Under information and belief, Debt Owner did not place any telephone calls to Mr.

     Brown for emergency purposes.

  36. Each telephone call Debt Owner placed to Mr. Brown was in connection with the

     collection of the Debt.

  37. Debt Owner did not have Mr. Brown’s express consent to make any of the three hundred

     and fifty (350) telephone calls identified in paragraph 30 to Mr. Brown’s cellular

     telephone number.

  38. Mr. Brown’s attorney advised that Mr. Brown stop making monthly payments to Debt

     Owner, as Debt Owner was in violation of consumer protection laws. See Exhibit I.

  39. On or around February 22, 2015, Debt Owner again directly contacted Mr. Brown

     regarding the Account. See Exhibit J.

  40. In or around late March 2015, Debt Owner continued to directly contact Mr. Brown

     regarding the Account. See Exhibit K.




                               Brown v .Citibank, N.A. and ARS National Services, Inc.
                                        Plaintiff’s First Amended Complaint
                                                     Page 5 of 13
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 6 of 61 PageID 10



   41. On or around March 26, 2015, Mr. Brown’s attorney once again requested Debt Owner

      stop illegally contacting Mr. Brown. See Exhibit L.

   42. Despite these repeated requests, Mr. Brown continues to receive Collection Letters

      regarding the Account.

   43. Debt Owner’s actions involving the Account, Mr. Brown’s credit rating has suffered. See

      Exhibit M.

   44. As a direct and proximate consequence of Debt Owner’s actions involving the Account,

      Mr. Brown has also been charged $584.83 in interest as of May 2015. See Exhibit B p.

      12.

   45. In or around April 2015, Debt Owner charged off the Account and assigned it to Debt

      Collector

   46. Debt Collector thereafter sent Mr. Brown collection letters attempting to collect the Debt,

      including, but not limited to the following dates:

            a. August 24, 2015; and

            b. September 17, 2015

      See Exhibit N.

                                        Count 1: Negligence
                                      (as against Debt Owner)

   47. Plaintiff re-alleges paragraphs 1-46 and incorporates the same herein by reference.

   48. Debt Owner, a lender, had a duty to Mr. Brown, to act in a commercially reasonable

      manner with respect to the Account.

   49. Debt Owner breached its duty where it failed to identify a patently problematic pattern of

      account activity which allowed the account to be over limit by $8,283.43.

   50. Debt Owner’s breach is the actual and proximate cause of damages.

                             Brown v .Citibank, N.A. and ARS National Services, Inc.
                                      Plaintiff’s First Amended Complaint
                                                   Page 6 of 13
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 7 of 61 PageID 11



   51. All conditions precedent to this action have occurred.

   WHEREFORE, Plaintiff requests this Court to enter a judgment against Debt Owner as

follows:

           a. Awarding actual damages to Plaintiff;

           b. Ordering an injunction preventing further wrongful contact by the Defendant; and

           c. Any other and further relief as this Court deems equitable.


   Count 2: Violation of Restrictions on use of Telephone Equipment (Using an automated
            telephone system to contact a cellular phone that resulted in charges)
                                   (as against Debt Owner)

   52. Plaintiff re-alleges paragraphs 1-46 and incorporates the same herein by reference.

   53. The Restrictions on Use of Telephone Equipment provision, 47 U.S.C. § 227 (b) (1)

       (2012) prohibits any person

                      (A) to make any call (other than a call made for emergency
                      purposes or made with the prior express consent of the
                      called party) using any automatic telephone dialing system
                      or an artificial prerecorded voice – (iii) to any telephone
                      number assigned to a paging service, cellular telephone
                      service, . . . or any service for which the called party is
                      charged for the call.

   54. Mr. Brown revoked consent to have the Debt Owner call his cellular phone on or around

       October 2014 when his attorney sent Debt Owner a representation agreement, directing

       all correspondence to the attorney.

   55. Despite this revocation of consent, Debt Owner thereafter called Mr. Brown’s cellular

       phone over three hundred and fifty (350) times.

   56. Debt Owner willfully and knowingly placed three hundred and fifty (350) non-

       emergency calls to Mr. Brown’s cellular telephone without the express consent of Mr.



                             Brown v .Citibank, N.A. and ARS National Services, Inc.
                                      Plaintiff’s First Amended Complaint
                                                   Page 7 of 13
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 8 of 61 PageID 12



       Brown, using an automatic telephone dialing system, violating the Restrictions on Use of

       Telephone Equipment.

   57. All conditions precedent to this action have occurred.

   WHEREFORE, Plaintiff requests this Court to enter a judgment against Debt Owner as

follows:

           a. Awarding statutory damages as provided by 47 U.S.C. § 227 (b) (3) (B), which

              allows for $500 in damages for each such violation;

           b. Awarding treble damages pursuant to 47 U.S.C. § 227 (b) (3) (C);

           c. Awarding Plaintiff costs;

           d. Ordering an injunction preventing further wrongful contact by the Defendant; and

           e. Any other and further relief as this Court deems equitable.

           Count 3: Violation of the Fair Debt Collection Practices Act (“FDCPA”)
                                  (as against Debt Collector)

   58. Plaintiff re-alleges paragraphs 1-46 and incorporates the same herein by reference.

   59. Plaintiff is a “consumer” within the meaning of the FDCPA.

   60. The subject debt is a “consumer debt” within the meaning of the FDCPA.

   61. Debt Collector is a “debt collector” within the meaning of the FDCPA.

   62. All of the letters from Debt Collector to Plaintiff constitute “communications” as defined

       by 15 U.S.C. § 1692a (2) (2012).

   63. Debt Collector violated the FDCPA. Debt Collector’s violations include, but are not

       limited to, the following:

              a. Debt Collector violated the FDCPA, 15 U.S.C. § 1692c (a) (2) (2012),

                  by communicating with Mr. Brown in connection with the collection

                  of the Debt when the Debt Collector knew that Mr. Brown was

                              Brown v .Citibank, N.A. and ARS National Services, Inc.
                                       Plaintiff’s First Amended Complaint
                                                    Page 8 of 13
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 9 of 61 PageID 13



                  represented by an attorney with respect to such Debt and could readily

                  ascertain the attorney’s name and address from the representation

                  letter sent to Debt Owner on or around October 17, 2014.

   64. As a result of the above violation of the Act, Plaintiff has been subjected to illegal

       collection activities for which he has been damaged.

   65. It has been necessary for Plaintiff to retain the undersigned counsel to prosecute the

       instant action, for which he is obligated to pay a reasonable attorney’s fee.

   66. All conditions precedent to this action have occurred.

   WHEREFORE, Plaintiff requests this Court to enter a judgment against Debt Collector as

follows:

              a. Awarding statutory damages as provided by 15 U.S.C. § 1692k (a) (2) (A);

              b. Awarding actual damages;

              c. Awarding costs and attorneys’ fees; and

              d. Any other and further relief as this Court deems equitable.

      Count 4: Violation of the Florida Consumer Collection Practices Act (“FCCPA”)
                                 (as against Debt Collector)

   67. Plaintiff re-alleges paragraphs 1-46 and incorporates the same herein by reference.

   68. Debt Collector violated the FCCPA. Debt Collector’s violations include, but are not

       limited to, the following:

           a. Debt Collector violated the FCCPA, Fla. Stat. § 559.72 (18), by contacting

              the Plaintiff after the Debt Collector knew the Plaintiff was represented by

              an attorney with respect to such debt and had knowledge of such

              attorney’s name and address from the representation letter sent to Debt

              Owner on or around October 17, 2014.

                              Brown v .Citibank, N.A. and ARS National Services, Inc.
                                       Plaintiff’s First Amended Complaint
                                                    Page 9 of 13
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 10 of 61 PageID 14



    69. As a result of the above violation of the Act, Plaintiff has been subjected to unwarranted

        and illegal collection activities and harassment for which he has been damaged.

    70. It has been necessary for Plaintiff to retain the undersigned counsel to prosecute the

        instant action, for which he is obligated to pay a reasonable attorney’s fee.

    71. All conditions precedent to this action have occurred.

    WHEREFORE, Plaintiff requests this Court to enter judgment against Debt Collector as

 follows:

               a. Awarding statutory damages as provided by Fla. Stat. § 559.77;

               b. Awarding actual damages;

               c. Awarding costs and attorneys’ fees;

               d. Ordering an injunction preventing further wrongful contact by the Defendant;

                   and

               e. Any other and further relief as this Court deems equitable.

       Count 5: Violation of the Florida Consumer Collection Practices Act (“FCCPA”)
                                   (as against Debt Owner)

    72. Plaintiff re-alleges paragraphs 1-46 and incorporates the same herein by reference.

    73. Debt Owner violated the FCCPA. Debt Owner’s violations include, but are not limited to,

        the following:

               a. Debt Owner violated the FCCPA, Fla. Stat. § 559.72 (7), by willfully

                   communicating with Mr. Brown with such frequency as can

                   reasonably be expected to harass Mr. Brown, by calling Mr. Brown’s

                   cell phone at least three hundred and fifty (350) times, up to six times

                   per day. See Exhibit H pps. 5, 6.




                               Brown v .Citibank, N.A. and ARS National Services, Inc.
                                        Plaintiff’s First Amended Complaint
                                                     Page 10 of 13
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 11 of 61 PageID 15



               b. Debt Owner violated the FCCPA, Fla. Stat. § 559.72 (17), by

                   communicating with Mr. Brown between the hours of 9:00 p.m. and

                   8:00 a.m. in the Eastern Time Zone without prior consent of Mr.

                   Brown. For example, Debt Owner called Mr. Brown’s cellular phone

                   at 7:22 a.m. on December 20, 2014. See Exhibit H p. 13.

               c. Debt Owner violated the FCCPA, Fla. Stat. § 559.72 (18), by

                   contacting the Plaintiff after the Debt Owner knew that Mr. Brown

                   was represented by an attorney with respect to such Debt and had

                   knowledge of such attorney’s name and address from the

                   representation agreement sent to Debt Owner on or around October 17,

                   2014.

    74. As a result of the above violations of the Act, Plaintiff has been subjected to unwarranted

        and illegal collection activities and harassment for which he has been damaged.

    75. It has been necessary for Plaintiff to retain the undersigned counsel to prosecute the

        instant action, for which he is obligated to pay a reasonable attorney’s fee.

  76. All conditions precedent to this action have occurred.

    WHEREFORE, Plaintiff requests this Court to enter a judgment against Debt Owner

 as follows:

               a. Awarding statutory damages as provided by Fla. Stat. § 559.77;

               b. Awarding actual damages;

               c. Awarding costs and attorneys’ fees;

               d. Awarding punitive damages;




                               Brown v .Citibank, N.A. and ARS National Services, Inc.
                                        Plaintiff’s First Amended Complaint
                                                     Page 11 of 13
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 12 of 61 PageID 16



               e. Ordering an injunction preventing further wrongful contact by the

                  Defendant; and

               f. Any other and further relief as this Court deems equitable.




                                DEMAND FOR JURY TRIAL

        Plaintiff, THOMAS J. BROWN, demands a trial by jury on all issues so triable.




 Respectfully submitted this March 8, 2016.

                                                   /s/ Michael A. Ziegler
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                             Brown v .Citibank, N.A. and ARS National Services, Inc.
                                      Plaintiff’s First Amended Complaint
                                                   Page 12 of 13
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 13 of 61 PageID 17



                                 CERTIFICATE OF SERVICE

 I certify that a copy hereof has been furnished as follows on this 08 day of March, 2016.

 _ X_ E-mail/E-Services, ____ Delivery, _ __ US Mail, __ Fax



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                              Brown v .Citibank, N.A. and ARS National Services, Inc.
                                       Plaintiff’s First Amended Complaint
                                                    Page 13 of 13
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 14 of 61 PageID 18
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 15 of 61 PageID 19
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 16 of 61 PageID 20
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 17 of 61 PageID 21
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 18 of 61 PageID 22
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 19 of 61 PageID 23
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 20 of 61 PageID 24
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 21 of 61 PageID 25
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 22 of 61 PageID 26
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 23 of 61 PageID 27
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 24 of 61 PageID 28
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 25 of 61 PageID 29
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 26 of 61 PageID 30
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 27 of 61 PageID 31
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 28 of 61 PageID 32
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 29 of 61 PageID 33
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 30 of 61 PageID 34
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 31 of 61 PageID 35
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 32 of 61 PageID 36
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 33 of 61 PageID 37
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 34 of 61 PageID 38
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 35 of 61 PageID 39
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 36 of 61 PageID 40
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 37 of 61 PageID 41
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 38 of 61 PageID 42
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 39 of 61 PageID 43
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 40 of 61 PageID 44
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 41 of 61 PageID 45
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 42 of 61 PageID 46
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 43 of 61 PageID 47
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 44 of 61 PageID 48
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 45 of 61 PageID 49
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 46 of 61 PageID 50
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 47 of 61 PageID 51
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 48 of 61 PageID 52
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 49 of 61 PageID 53
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 50 of 61 PageID 54
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 51 of 61 PageID 55
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 52 of 61 PageID 56
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 53 of 61 PageID 57
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 54 of 61 PageID 58
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 55 of 61 PageID 59
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 56 of 61 PageID 60
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 57 of 61 PageID 61
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 58 of 61 PageID 62
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 59 of 61 PageID 63
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 60 of 61 PageID 64
Case 8:16-cv-00579-SCB-TBM Document 1-1 Filed 03/10/16 Page 61 of 61 PageID 65
